      Case 1-23-44222-jmm              Doc 16      Filed 01/19/24    Entered 01/19/24 13:28:33




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X   Chapter 11
IN RE:
         KISAVOS TAXI INC.                                  Case Nos.     23-44221

                           Debtor.                    (Joint Administration Pending)
--------------------------------------------------------X

                                                            Chapter 11
IN RE:
      GREEK STAR TAXI INC.                                    Case Nos.     23-44222

                           Debtor.
--------------------------------------------------------X


                        Declaration regarding appointment of the Mediator

It is hereby notified that the following counsel has been chosen (and he consents to the same) by
the related parties to mediate between the Debtors and the secured creditor Medallion Bank
regarding the indebtedness and request the Court to approve of the same:


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Respectfully submitted,

Dated: January 19, 2024
New York NY
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